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 EXHIBIT A
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To: Frank A. Battaglia (Winston & Strawn LLP)                               May 12, 2024
From: Marcelo M. Hirschler (GBH International)

Your email to me dated May 8, 2024, states that you are seeking my deposition as a “fact witness”.

In that case, the response is very simple. Neither I (Marcelo Hirschler) nor GBH International have
ever received compensation for technical work specifically related to bathroom partitions or
referencing or directly related to Scranton Products. There is no actual connection between any
customers of mine (or of GBH International) and Scranton Products.

You are requesting four sets of documents, none of which exist. Your document requests state as
follows:

   1. “Documents reflecting any Compensation paid to You for any Consulting Work on any
      Fire Rating Code related to bathroom partitions”. Neither I nor GBH International have
      ever received compensation “for any consulting work on any Fire Rating Code related to
      bathroom partitions”.
   2. Communications concerning Fire Rating Codes and their applicability to HDPE
      partitions”. Neither I nor GBH International have ever received compensation for
      “Communications concerning Fire Rating Codes and their applicability to HDPE
      partitions”. None of my customers have ever provided any explicit or implicit instructions
      relating to opinions regarding bathroom partitions. I have received compensation from my
      customers for expressing my opinions on ways to improve fire safety based on over 30
      years of experience and expertise related to fire testing, fire-related codes and standards,
      and the fire performance of materials. Such opinions have been presented in various
      opportunities at several places, including ICC code hearings, NFPA codes and standards
      meetings (including the NFPA Annual Technical meeting) and other standards meetings.
   3. Communications referencing or relating to Scranton Products. Neither I nor GBH
      International have ever had “Communications referencing or relating to Scranton
      Products.” I am not sure what products are manufactured (if any) by Scranton products.
      None of my customers have provided instructions relating to Scranton Products. The first
      time I am aware that I have heard the name of the company Scranton Products was during
      the June 22, 2023, NFPA Annual Technical meeting when Mr. Scott Dillon identified
      himself as speaking “on behalf of Scranton Products, a manufacturer of high-density
      polyethylene bathroom partitions”.
   4. Communications with any individuals from the International Code Council or the National
      Fire Protection Association concerning bathroom partitions. Neither I nor GBH
      International have ever had communications with individuals from the International Code
      Council (ICC) or the National Fire Protection Association (NFPA) other than as follows. I
      have provided testimony (and it is possible that another GBH International scientist may
      have done so also) at ICC code hearings and at NFPA Technical Meetings regarding our
      opinions on ICC code proposals or comments or NFPA certified motions, some of which
      may have involved bathroom partitions. I have also worked as a member of the NFPA
      Technical Committees on Interior Finish (representing GBH International, as a Special
      Expert, without compensation from any clients) and as a member of the NFPA Technical
      Committee on Fire Tests (representing GBH International, as a Special Expert, without
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       compensation from any clients) when issues were discussed some of which may have
       related to bathroom partitions. As part of my activities at the NFPA Technical Committee
       on Fire Tests I have been a member of the task group on Bathroom Partitions (also known
       as toilet partitions) chaired by Karen Carpenter (Southwest Research Institute) representing
       myself. Clearly during testimony and discussions on these issues individuals from ICC and
       NFPA were present. Neither GBH International nor I have had any specific
       communications with ICC or NFPA individuals other than the public expression of
       testimony and opinions, in the interest of fire safety.

At the 2023 NFPA Annual Technical Meeting I spoke on behalf of two organizations, namely the
Vinyl Institute and NAFRA (North American Flame Retardant Alliance). When speaking on the
issue of interest to Scranton Products (namely the motion associated with NFPA 286) I spoke on
behalf of the Vinyl Institute. On other opportunities during that meeting I spoke on behalf of
NAFRA. My instructions from both organizations were (and continue to be) to provide my
opinions in the interest of improving fire safety. Neither GBH International nor I have received
specific directions from these (or other) customers or clients as to a particular position with regard
to bathroom partitions.

As such, I object to the need for me to appear for a deposition as a “fact witness” as I am not a fact
witness of any compensation that either GBH International or myself has received specifically
related to bathroom partitions.

If your firm is still interested in deposing me on such a matter where no “facts” exist, I would
request that it be done with minimal waste of my time by requesting a Zoom (or alternate software)
deposition while I am in my office. Mr. Hittinger (BakerHostetler) suggested that he would like to
attend such a Zoom deposition.

Dates I am available in May and June are as follows:
May 20, after 1 pm Pacific
May 21 and May 22, after 9 am Pacific
May 23, after 2.30 pm Pacific
May 24, 9 am or after 2.30 pm Pacific
May 28 and May 29, after 9 am Pacific
May 30, after 2.30 pm Pacific
May 31, after 9 am Pacific
June 4, after 9 am Pacific
June 14, after 2 pm Pacific
June 24, after 9 am Pacific
June 25, after 10 am Pacific

Yours sincerely




Dr. Marcelo M. Hirschler
